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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

    ROWVAUGHN WELLS,

                          Plaintiff,                 Case No. 2:23-cv-02224-MSN-ATC

          v.                                         JURY DEMAND

    THE CITY OF MEMPHIS et al.,

                          Defendants.


   PLAINTIFF’S REPLY IN SUPPORT OF HER MOTION TO AMEND COMPLAINT
       On November 30 Plaintiff moved for leave to amend her complaint. See ECF 248 (“Motion

to Amend”). Three defendants submitted responses in opposition. See ECF 257 (City of Memphis),

ECF 256 (Defendant Long), and ECF 263 (Defendant Whittaker). Plaintiff submits this omnibus

reply to those responses, and in support of her motion to amend.

                                          DISCUSSION
       In her Motion to Amend, Plaintiff explained that she sought to amend her complaint after

reviewing testimony by multiple Memphis Police Department (“MPD”) witnesses at the United

States v. Bean trial. Those witnesses revealed settled practices within the MPD that are at the heart

of what enabled Mr. Nichols’ killing: officers brutalizing civilians via a “run tax,” lies and

manipulation of evidence to hide such brutality, and a code of silence that perpetuated this

misconduct. ECF 248 at 4-6. The witnesses also testified that these customs were widespread

within the MPD, predating and going beyond the Scorpion Unit. Id. This testimony, Plaintiff

explained, was new, watershed Monell evidence, revealing that MPD’s culture of brutality and

coverup was broad and longstanding. Id. at 6-9. And, Plaintiff noted, this evidence had only come

to light because prosecutors were able to wield the threat of prosecution against the witnesses to

obtain their cooperation. Id. Plaintiff sought to amend her complaint in light of this new evidence.

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         In their responses, the defendants contest none of this. They do not dispute that revelations

of a “run tax” and code of silence are significant Monell evidence. They do not contest that this

evidence is new, and they do not dispute that Plaintiff, lacking the ability to threaten prosecution,

had no practical means to extract this testimony on her own. Nor do they dispute that Plaintiff

sought to amend promptly after reviewing the Bean trial transcripts. Instead, they raise a series of

arguments that are either formalistic or entirely unsupported.

         As Plaintiff sets out below, these arguments do not withstand scrutiny. It is critical,

moreover, to consider them in context. At the heart of this case is a basic question: in a professional

police department that purports to protect the rights of Memphis residents, how could multiple

MPD officers feel comfortable beating Mr. Nichols so savagely, and what made them think they

could get away with it? The intervention of the U.S. Department of Justice in the matter of Mr.

Nichols’ death—both its Bean prosecution and its pattern and practice investigation 1 of the MPD—

has unearthed a wealth of evidence that will help answer those and other basic questions in this

case. Plaintiff’s proposed amended complaint, and her related proposed discovery schedule, see

ECF 247, are intended, among other things, to marshal that evidence so that it may be presented

to a jury. The defendants’ opposition to Plaintiff’s Motion to Amend, and their related effort to cut

off fact discovery now, has no discernable purpose other than to prevent a jury from hearing this

new, important evidence. The Court should not permit that. It should allow the complaint to be

amended and for discovery to proceed, so that the jury will be equipped with the best evidence to

decide the truth in this matter. Plaintiff now turns to defendants’ arguments.




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      See U.S. Dep’t of Justice, Investigation of the Memphis Police Department and the City
of Memphis (Dec. 4, 2024). Available at: https://www.justice.gov/crt/media/1379096/dl?inline.

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       Rule 16(b). Plaintiff agrees with the defendants that her motion to amend should have been

styled as arising under Rule 16 as well as Rule 15, since “[s]eeking leave to amend a complaint

after the scheduling order’s deadline implicates . . . Rule 15 and Rule 16.” Carrizo (Utica) LLC v.

City of Girard, 661 F. App’x 364, 367 (6th Cir. 2016). Plaintiff will seek the Court’s guidance on

this at the upcoming January 3 hearing. If the Court wishes Plaintiff to file a standalone Rule 16(b)

motion before it rules on Plaintiff’s Motion to Amend, Plaintiff will do so promptly. Plaintiff

submits, however, that such a motion would not be different in substance than Plaintiff’s Motion

to Amend and this reply, because the touchstones of Rule 16(b)(4) analysis—good cause and lack

of undue prejudice to the non-moving parties—are amply set out and satisfied in that briefing.

Under both Rule 15 and Rule 16, Plaintiff’s request for leave to amend should be granted.

       Good cause. Newly discovered facts that a party could not have found earlier despite their

diligence is paradigmatic good cause to amend. See, e.g., Nesby v. Heisner, No. 5:20-cv-00042,

2021 WL 1886296, at *3 (W.D. Ky. May 11, 2021) (granting Rule 16(b) request where “Plaintiff’s

motion . . . show[s] that Plaintiff’s proposed amendments are based on newly discovered facts.”).

Here, the revelations in the Bean trial came well after the November 2023 date for amendment in

this case (ECF 111), bringing Plaintiff’s motion squarely within the settled good-cause standard.

       The City, however, argues Plaintiff should have anticipated there might be new revelations

at the criminal trials and sought a deadline to amend after the Bean trial. ECF 257 at 7. This would

be no different than insisting that the amendment deadline be put off until the end of a case, since

discovery might reveal new facts too. Not surprisingly, the City identifies no authorities to support

this anticipatory argument. There is simply no dispute that the Bean trial revealed new evidence

Plaintiff had no practical way of obtaining. That is good cause to amend the complaint.




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         Prejudice. “[T]he party opposing a motion to amend must make some significant showing

of prejudice to prevail.” Sec. Ins. Co. of Hartford v. Kevin Tucker & Assocs., Inc., 64 F.3d 1001,

1009 (6th Cir. 1995). Defendants’ prejudice claims fail. First the City says amending the complaint

will cause prejudice through delay. ECF 257 at 9.2 But that is true only under the City’s proposed

schedule, which would cut off fact discovery on Dec. 30, 2024. See id. (City citing its proposed

schedule, ECF 246). As Plaintiff explained in her response to the City’s scheduling motion, the

City’s proposal is not realistic for a number of reasons, including that discovery of the criminally

charged officer defendants will remain frozen at least through this summer. See ECF 247 at 1.

Indeed the City claims prejudice because it cannot cross examine Defendants Desmond Mills or

Emmitt Martin about their Bean testimony until the stay is lifted. ECF 257 at 12. But that just

shows why the City’s proposed December 30 discovery cutoff is unworkable and why Plaintiff’s

proposed schedule should be adopted. It is not a reason to deny Plaintiff’s proposed amendment.

         Second, the City makes a variety of discovery arguments. It says it will be prejudiced

because the new allegations will require additional discovery and a response to the complaint. ECF

257 at 11, 14. 3 “Additional discovery alone,” however, “does not constitute prejudice for purposes

of deciding whether the Court should permit amendment.” Periodontal Assocs. of Memphis, P.C.

v. Peerless Indem. Ins. Co., No. 16-cv-2751, 2017 WL 4122623, at *6 (W.D. Tenn. Sept. 18, 2017).

The City claims that some depositions may need to be re-opened—but never says which ones. ECF

257 at 11. It says Plaintiff has withdrawn some deposition notices. Id. at 12. That is to be expected

of attorneys trying to economize resources in a complex, dynamic case like this one.



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      Whittaker makes a similar argument, based on the Second Amended Scheduling Order that
closed fact discovery in August 2024. ECF 263 at 3; ECF 185 at 2.
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      Long similarly argues prejudice unless he is allowed to file a Rule 12 motion, ECF 256 at 5.
Plaintiff does not object to the filing of Rule 12 motions regarding her amended complaint.

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       Third, the City says that the amendments “serve no practical purpose” because “[m]any”

of the new allegations are “merely more detailed versions of the same allegations.” Id. at 13. The

City takes the opposite position in its motion to dismiss the current complaint, however, arguing

that “Plaintiff must establish [] the existence of a clear and persistent pattern of misconduct by

the Scorpion Unit,” such that allegations of misconduct which “pre-dated the formation of the

Scorpion Unit” in 2021 cannot support Plaintiff’s Monell claim against the City. ECF 81-1 at 14

(emphases original). The City cannot have it both ways. The amended complaint is not duplicative.

       Fourth, the City argues Plaintiff should not be allowed to amend the complaint on the

strength of the Bean trial testimony because it was coerced by federal prosecutors. ECF 257 at 14-

15. The Court should disregard this baseless suggestion that the U.S. DOJ suborned perjury.

       Chief Davis. Chief Davis argues that the complaint should not be amended to assert

amended claims against her because they would be futile. ECF 257 at 16. Davis emphasizes that

she was not directly involved in Mr. Nichols’ beating, id., but that is irrelevant since Plaintiff’s

proposed amended complaint sues her as a supervisor. See, e.g., ECF 248-1 ¶¶ 70-71, 73, 82-83,

88, 97, 104, 107, 119, 293. Davis’s remaining arguments merely declare her lack of liability,

unsupported by any case law or developed argument. ECF 257 at 16-17. Plaintiff submits that the

Court will better be able to consider the adequacy of the allegations against Chief Davis through

Rule 12 briefing. Chief Davis’s cursory arguments do not permit development of the issue here.

                                         CONCLUSION

       The Court should grant Plaintiff’s Motion to Amend and permit this case to move

forward on a workable schedule that permits Plaintiff the opportunity to develop her case.




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Dated: January 1, 2025                                   Respectfully submitted,


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